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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


Kiesque, Incorporated                         )
                                              )
v.                                            )      Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )      Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )      Magistrate: Hon. Mary M. Rowland
                                              )
                                              )


                                 SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe           Store             Store ID                          Email
 530           ninitextilecity   59d85dec21064f6bba16891e          burgess111@outlook.com
 456 (628)     fumanjiairon      59cf636d8ee78d390dc4b94e          azizi666@outlook.com


dismisses them from the suit without prejudice.

Dated this 12th Day of August, 2019.          Respectfully submitted,


                                              By:      s/David Gulbransen/
                                                     David Gulbransen
                                                     Attorney of Record
                                                     Counsel for Plaintiff

                                                     David Gulbransen (#6296646)
                                                     Law Office of David Gulbransen
                                                     805 Lake Street, Suite 172
                                                     Oak Park, IL 60302
                                                     (312) 361-0825 p.
                                                     (312) 873-4377 f.
                                                     david@gulbransenlaw.com
